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                   EXHIBIT A
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  January 9, 2018

  U.S. Department of Homeland Security
  Privacy Office
  245 Murray Drive SW, Building 410
  STOP-0655
  Washington, D.C. 20528-0655
  Fax: 703-235-0443
  E-mail: foia@hq.dhs.gov

  U.S. Immigration and Customs Enforcement
  800 North Capitol Street, N.W.
  5th Floor, Suite 585
  Washington, D.C. 20536-5009
  Fax: 202-732-0310
  E-mail: ice-foia@dhs.gov

  RE:    Request under the Freedom of Information Act
         Fee Waiver Requested

  Dear Sir or Madam:

  This letter constitutes a request for records made pursuant to the Freedom of Information Act
  (“FOIA”), 5 U.S.C. § 552, on behalf of the ACLU of Southern California (hereinafter
  “Requestor”).

  Requestor seeks all reports and audits prepared by the Detention Standards Implementation
  Initiative of the American Bar Association’s (“ABA”) Commission on Immigration from 2008 to
  present. The ABA has undertaken the Detention Standards Implementation Initiative to inspect
  and provide reporting on Immigration and Customs Enforcement (“ICE”) facilities detaining
  immigrants, including asylum seekers. See ABA Commission on Immigration, Detention
  Standards Implementation Initiative, http://www.americanbar.org/groups/public_services/
  immigration/projects_initiatives/detention_standards_implementation_initiative.html. The ABA
  tours facilities and prepares reports to share with ICE regarding compliance with the detention
  standards applicable at each facility.

  Since 2001, the ABA has conducted inspections and prepared reports regarding immigration
  detention centers across the country. ICE has made public the ABA’s reports from the period
  2001-2008 in its FOIA library. See https://www.ice.gov/foia/library. However, ICE has not made
  public any reports subsequently issued by the ABA since this period, despite the fact that the
  ABA has continued to conduct inspections and issue reports in the past decade. For example, in
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  approximately 2014, the ABA completed a report regarding the Adelanto Detention Facility, a
  contract detention center operated by GEO Group (“GEO”) in Adelanto, California, but the
  report has never been made public.

  Through this request, Requestor seeks to inform the public on a matter of great public concern—
  the treatment of immigrants, including asylum seekers, in the care and custody of the federal
  government. The detention standards govern the treatment of immigrants while in immigration
  custody. The public should have access to the results of the ABA’s independent reporting on
  detention facilities and their adherence to these detention standards.

  ICE has already recognized the public’s interest in the ABA’s reports by posting reports from
  2001-2008 to its FOIA library. The public’s interest in the treatment of immigrants in detention
  has only grown since this time. News media reporting and government inspections have
  documented widespread violations’ of detainees’ rights and detention centers’ failure to comply
  with the detention standards. See, e.g., Paloma Esquivel, ’We don't feel OK here’: Detainee
  deaths, suicide attempts and hunger strikes plague California immigration facility, L.A. Times
  (Aug. 8, 2017), http://www.latimes.com/local/lanow/la-me-ln-adelanto-detention-20170808-
  story.html; DHS OIG, Management Alert on Issues Requiring Immediate Action at the Theo
  Lacy Facility in Orange, California (OIG-17-43-MA), https://www.oig.dhs.gov/
  sites/default/files/ assets/Mga/2017/oig-mga-030617.pdf (Mar. 6, 2017). In several cases, the
  failure to comply with detention standards has led to a detainee’s tragic death. See, e.g., CBS Los
  Angeles, Exclusive: Report Blames Detainee’s Death On Immigration Center’s Medical Staff
  (Feb. 24, 2014), http://losangeles.cbslocal.com/2014/02/24/exclusive-report-blames-detainees-
  death-on-immigration-centers-medical-staff/; ICE Office of Detention Oversight, Compliance
  Inspection, Adelanto Correctional Facility, http://www.ice.gov/doclib/foia/odo-compliance-
  inspections/adelantoCorrectionalFac_Adelanto-CA-Sept_18-20-2012.pdf. This widespread
  media coverage and government reporting demonstrates the public’s intense interest in the
  treatment of immigrants in detention.

  Because the ABA’s report concerns a critical function of the government on a matter of
  significant public interest and concern, FOIA mandates its disclosure. See 5 U.S.C. § 552.

  REQUESTORS

  The ACLU of Southern California (ACLU SoCal) is a non-profit organization dedicated to
  defending and securing the rights granted by the U.S. Constitution and Bill of Rights. ACLU
  SoCal’s work focuses on immigrants’ rights, the First Amendment, equal protection, due
  process, privacy, and furthering civil rights for disadvantaged groups. As part of its work, ACLU
  SoCal monitors conditions in detention centers, including the Adelanto Detention Facility.
  ACLU SoCal disseminates information to the public through its website and social media
  platforms, “Know Your Rights” documents, and other educational and informational materials.
  The ACLU SoCal regularly submits FOIA requests to DHS and other agencies – including, for
  example, on ICE’s policies and practices for worksite immigration enforcement, and USCIS’s
  policies and practices for the adjudication of naturalization applications – and publicizes the
  information it obtains through its website, newsletters and “Know Your Rights” presentations
  and materials.
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  REQUEST

  We seek disclosure of any and all records1 relating to or concerning2 inspections, audits and
  reports by the Detention Standards Implementation Initiative of the ABA’s Commission on
  Immigration of immigration detention centers from 2008 to present, including but not limited to
  any drafts of reports or audits, and any response or communication by ICE or a contractor
  operating a facility regarding a draft or final report or audit prepared by the ABA.

  Requestor asks that any records that exist in electronic form be provided in electronic format on
  a compact disc.

  LIMITATION OR WAIVER OF SEARCH AND REVIEW FEES

  We request a limitation of processing fees pursuant to 5 U.S.C. § 552(a)(4)(A)(ii)(II) (“fees shall
  be limited to reasonable standard charges for document duplication when records are not sought
  for commercial use and the request is made by . . . educational or noncommercial scientific
  institution . . . or a representative of the news media”) and 6 C.F.R. § 5.11(d)(1) (search fees
  shall not be charged to “representatives of the news media”).

  The information sought in this request is not sought for a commercial purpose. The Requestor is
  a non-profit organization that intends to disseminate the information gathered by this request to
  the public at no cost, including through the Requestor’s website and social media. The ACLU
  SoCal regularly disseminates information to its members through action alerts, emails and
  newsletters (the ACLU SoCal has more than 28,000 members and, nationwide, the ACLU has
  more than 500,000 members). See http://www.aclusocal.org/about/. Requestor may also compile
  a report or other publication on the government’s treatment of immigrants based on information
  gathered through this FOIA. Requestor has repeatedly used information gathered through FOIA
  to disseminate information to the public through such forums. See, e.g.,
  http://www.aclu.org/immigrants-rights/immigrant-detainee-rights-are-routinely-systematically-
  violated-new-report-finds (ACLU SoCal report based on documents disclosed through FOIA).
  See also http://www.aclusocal.org/about/report-directory/ (compiling recent ACLU SoCal
  reports).

  The “term ‘a representative of the news media’ means any person or entity that gathers
  information of potential interest to a segment of the public, uses its editorial skills to turn the raw

  1
   The term “records” as used herein includes but is not limited to all records or communications
  preserved in electronic or written form, including but not limited to correspondence, documents,
  data, videotapes, audio tapes, faxes, files, e-mails, guidance, guidelines, evaluations, instructions,
  analyses, memoranda, agreements, notes, orders, policies, procedures, protocols, reports, rules,
  manuals, technical specifications, training manuals, or studies.
  2
    The term “concerning” means referring to, describing, evidencing, commenting on, responding
  to, showing, analyzing, reflecting, or constituting.
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  materials into a distinct work, and distributes that work to an audience.” 5 U.S.C.
  § 552(a)(4)(A)(ii). The statutory definition does not require that the requestor be a member of the
  traditional media. As long as the requestor meets the definition in any aspect of its work, it
  qualifies for limitation of fees under this section of the statute.

  Requestor qualifies as a “representative of the news media” under the statutory definition,
  because it routinely gathers information of interest to the public, uses editorial skills to turn it
  into distinct work, and distributes that work to the public. See Electronic Privacy Information
  Center v. Department of Defense, 241 F. Supp. 2d 5 (D.D.C. 2003) (non-profit organization that
  gathered information and published it in newsletters and otherwise for general distribution
  qualified as representative of news media for purpose of limiting fees). Courts have reaffirmed
  that non-profit requestors who are not traditional news media outlets can qualify as
  representatives of the new media for the purposes of the FOIA, including after the 2007
  amendments to the FOIA. See ACLU of Washington v. U.S. Dep’t of Justice, No. C09-0642RSL,
  2011 WL 887731, at *18 (D. Wash. Mar. 10, 2011) (finding that the ACLU qualifies as a
  “representative of the news media”). Accordingly, any fees charged must be limited to
  duplication costs.

  WAIVER OR REDUCTION OF ALL COSTS

  We request a waiver or reduction of all costs pursuant to 5 U.S.C. § 552(a)(4)(A)(iii)
  (“Documents shall be furnished without any charge . . . if disclosure of the information is in the
  public interest because it is likely to contribute significantly to public understanding of the
  operations or activities of the government and is not primarily in the commercial interest of the
  requester”); see also 6 C.F.R. § 5.11(k).

  The public interest fee waiver provision “is to be liberally construed in favor of waivers for
  noncommercial requesters.” McClellan Ecological Seepage Situation v. Carlucci, 835 F.2d 1282,
  1284 (9th Cir. 1987). The Requestor need not demonstrate that the records would contain
  evidence of misconduct. Instead, the question is whether the requested information is likely to
  contribute significantly to public understanding of the operations or activities of the government,
  good or bad. See Judicial Watch, Inc. v. Rossotti, 326 F.3d 1309, 1314 (D.C. Cir. 2003).

  Disclosure of the information and report sought is in the public interest and will contribute
  significantly to the public’s understanding of the treatment of immigrants while in immigration
  custody. As noted above, there was a recent death at the Adelanto Detention Facility, as well as
  other complaints regarding the medical treatment provided at the facility. The information sought
  will be critical to further inform the public regarding the treatment of detained immigrants, and
  whether ICE and GEO are meeting their obligations under the Detention Standards.

  The requested records relate directly to the operations or activities of the government that
  potentially impact fundamental rights and freedoms. The records are not sought for commercial
  use, and the Requestor plans to disseminate the information disclosed through print and other
  media to the public at no cost. As demonstrated above, the Requestor has both the intent and
  ability to convey any information obtained through this request to the public.
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  The Requestor states “with reasonable specificity that [their] request pertains to operations of the
  government,” and “the informative value of a request depends not on there being certainty of
  what the documents will reveal, but rather on the requesting party having explained with
  reasonable specificity how those documents would increase public knowledge of the functions of
  the government.” Citizens for Responsibility and Ethics in Washington v. U.S. Dept. of Health
  and Human Services, 481 F. Supp. 2d 99, 107-109 (D.D.C. 2006).

  In the event a waiver or reduction of costs is denied, please notify me in advance if the
  anticipated costs exceed $100.

  CONCLUSION

  We look forward to your reply to the records request within twenty (20) business days, as
  required under 5 U.S.C. § 552(a)(6)(A)(I).

  Please contact Michael Kaufman at (213) 977-5232 with any questions. Please supply all records
  to:

  Michael Kaufman
  ACLU of Southern California
  1313 West 8th Street
  Los Angeles, CA 90017

  Thank you for your prompt attention.

  Sincerely,



  Michael Kaufman
  Senior Staff Attorney
  ACLU of Southern California
